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                                                     #:1998


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                   8   Marcin Iwiński, Piotr Marcin Nielubowicz, and
                       Michał Nowakowski
                   9
               10                           UNITED STATES DISTRICT COURT
               11                          CENTRAL DISTRICT OF CALIFORNIA
               12
               13      ANDREW TRAMPE, Individually and          Case No. CV 20-11627-FMO (RAOx)
                       On Behalf of All Others Similarly
               14      Situated,                                DEFENDANTS’ STATEMENT OF
               15                     Plaintiffs,               NON-OPPOSITION TO LEAD
                                                                PLAINTIFF’S MOTION FOR
               16            v.                                 DISTRIBUTION OF CLASS ACTION
                                                                SETTLEMENT FUNDS
               17      CD PROJEKT S.A., ADAM MICHAŁ
                       KICIŃSKI, MARCIN IWIŃSKI,                Date: September 5, 2024
               18      PIOTR MARCIN NIELUBOWICZ, and
                       MICHAŁ NOWAKOWSKI,                       Time: 10:00 a.m.
               19                                               Courtroom: 6D
                                      Defendants.               Judge: Hon. Fernando M. Olguin
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COOLEY LLP
ATTORNEYS AT LAW
   SAN DIEGO                                                                   STATEMENT OF NON-OPPOSITION
                                                                            CASE NO. CV 20-11627 FMO (RAOX)
           Case 2:20-cv-11627-FMO-RAO             Document 100   Filed 08/08/24      Page 2 of 2 Page ID
                                                       #:1999


                   1         Defendants CD Projekt S.A., Adam Michał Kiciński, Marcin Iwiński, Piotr
                   2   Marcin Nielubowicz, and Michał Nowakowski do not oppose Lead Plaintiff’s
                   3   Motion for Distribution of Class Action Settlement Funds (Dkt. No. 98), which was
                   4   filed on August 6, 2024.
                   5
                   6   Dated:      August 8, 2024                    COOLEY LLP
                   7
                   8                                                 By: /s/ Ryan E. Blair
                                                                        Ryan E. Blair
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               10                                                Attorneys for Defendants
                                                                 CD Projekt S.A., Adam Michał
               11                                                Kiciński, Marcin Iwiński, Piotr Marcin
                                                                 Nielubowicz, and Michał Nowakowski
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                                                                 1               CASE NO. CV 20-11627 FMO (RAOX)
